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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                                CRIMINAL DOCKET

VERSUS                                                                               No. 10-154

GREGORY MCRAE                                                                       SECTION I




                                     ORDER AND REASONS

        Before the Court is a motion1 for a new trial based on newly discovered evidence filed by

defendant, Gregory McRae (“McRae”), as well as an amended motion2 for a new trial filed by

McRae. The government opposes3 the motions. For the following reasons, the motions are

DENIED.

                                            BACKGROUND

        The Court assumes familiarity with the factual and procedural background of the case

and only briefly revisits certain facts.4

        McRae was charged in five counts of an eleven-count second superseding indictment.5

        Count 3 charged that McRae and Dwayne Scheuermann (“Scheuermann”), while acting

under color of law as police officers with the New Orleans Police Department (“NOPD”), and

while aiding and abetting one another, kicked and hit Edward King (“King”) and William Tanner



1 R. Doc. No. 927; see also R. Doc. No. 984.
2 R. Doc. No. 1026.
3 R. Doc. No. 969; R. Doc. No. 1033.
4 See United States v. McRae, 702 F.3d 806 (5th Cir. 2012).
5 R. Doc. No. 223.

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(“Tanner”) without legal justification, willfully depriving them of the right to be free from the

use of unreasonable force by law enforcement officers, and resulting in bodily injury to King and

Tanner, all in violation of 18 U.S.C. §§ 242 and 2.6

         Count 4 charged that McRae and Scheuermann, while acting under color of law as NOPD

officers, and while aiding and abetting one another, unreasonably seized Tanner’s vehicle, a

2001 Chevrolet Malibu (“Malibu”), by burning it without legal justification, willfully depriving

Tanner of the right to be free from an unreasonable seizure by law enforcement officers, and

using fire and a dangerous weapon during this offense, all in violation of 18 U.S.C. §§ 242 and

2.7

         Count 5 charged that McRae and Scheuermann, while acting under color of law as NOPD

officers, and while aiding and abetting one another, burned the body of Henry Glover

(“Glover”), which was inside the Malibu, without legal justification, thereby willfully depriving

Glover’s descendants and survivors of the rights to have access to courts and to seek legal

redress for a harm, and using fire and a dangerous weapon during this offense, all in violation of

18 U.S.C. §§ 242 and 2.8

         Count 6 charged that McRae and Scheuermann, in relation to and in contemplation of a

matter within the jurisdiction of the Federal Bureau of Investigation (“FBI”), aided and abetted

one another in knowingly destroying evidence, by burning the Malibu, which contained Glover’s

body and other evidence, with the intent to impede, obstruct, and influence the investigation of




6 R. Doc. No. 223, at 2-3.
7 R. Doc. No. 223, at 3.
8 R. Doc. No. 223, at 3.

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the shooting of Glover by an NOPD officer, all in violation of 18 U.S.C. §§ 1519 and 2.9

       Count 7 charged that McRae and Scheuermann, while aiding and abetting one another,

knowingly used fire to commit violations of 18 U.S.C. §§ 242 and 1519, as charged in counts 4,

5, and 6 of the second superseding indictment, all in violation of 18 U.S.C. §§ 844(h) and 2.10

       The jury acquitted McRae of Count 3, which charged him with the unlawful use of force

against Tanner and King, but convicted him of the other four counts.11 The jury acquitted

Scheuermann of all counts.12

       As to Count 5, the U.S. Court of Appeals for the Fifth Circuit reversed and vacated

McRae’s conviction for denying Glover’s descendants and survivors the right of access to courts,

concluding that there was insufficient evidence to support this conviction. McRae, 702 F.3d at

811. The Fifth Circuit affirmed McRae’s other convictions and remanded for resentencing. Id.

       On December 5, 2013, McRae filed a motion13 for a new trial based on newly discovered

evidence, namely: (1) online posts by individuals including former Assistant U.S. Attorney

(“AUSA”) Sal Perricone (“Perricone”), (2) leaks of grand jury information, (3) a government

cover-up of such posts and leaks, and (4) evidence of McRae’s mental condition, including a

diagnosis of post-traumatic stress disorder (“PTSD”).14 On May 6, 2014, McRae filed an

amended motion, urging additional arguments relative to online commenting and grand jury

leaks.15 Both motions are premised on the assertion that newly discovered evidence entitles



9 R. Doc. No. 223, at 4.
10 R. Doc. No. 223, at 4.
11 R. Doc. No. 427-4, at 3-7.
12 R. Doc. No. 427-4, at 3-7.
13 R. Doc. No. 927.
14 R. Doc. No. 927-1, at 6, 28.
15 R. Doc. No. 1026-3.

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McRae to a new trial.

                                     LAW AND ANALYSIS

       Federal Rule of Criminal Procedure 33 provides that, “[u]pon the defendant’s motion, the

court may vacate any judgment and grant a new trial if the interest of justice so requires.” A

motion based on newly discovered evidence must be filed within 3 years after the verdict. Fed.

R. Crim. P. 33(b). Motions for a new trial based upon newly discovered evidence are “disfavored

and reviewed with great caution.” United States v. Wall, 389 F.3d 457, 467 (5th Cir. 2004)

(quotation omitted).

       Generally, there are five prerequisites that must be met to justify a new trial based upon

newly discovered evidence. Id. The defendant must prove that:

       (1) the evidence is newly discovered and was unknown to the defendant at the
       time of trial;

       (2) the failure to detect the evidence was not due to a lack of diligence by the
       defendant;

       (3) the evidence is not merely cumulative or impeaching;

       (4) the evidence is material; and

       (5) the evidence if introduced at a new trial would probably produce an acquittal.

Id.16 In the absence of any one of these elements, the motion fails. Id.




16 “[I]f the government used false testimony that it knew or should have known was false, then

the standard applied for newly discovered evidence is slightly more lenient,” requiring a new
trial if there is “any reasonable likelihood that the false testimony affected the judgment of the
jury.” Wall, 389 F.3d at 473. Although no one contends that this standard applies to the present
case, the Court notes that, when taken as a whole, the evidence identified by McRae fails to
satisfy even the “any reasonable likelihood” standard.
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I.      Online Posts, Grand Jury Leaks, and Cover-Up

        McRae argues that then-AUSA Perricone17 deliberately attempted to influence public

opinion by posting critical anonymous online comments below and in response to online news

articles about the New Orleans Police Department (“NOPD”) and McRae.18 He additionally

alleges that grand jury “leaks,” in violation of Rule 6 of the Federal Rules of Criminal Procedure,

are evidenced by pretrial media coverage.19 The following is a non-exhaustive representative

summary of the facts alleged by McRae

         In the months leading up to McRae’s trial, “Perricone went to work to sway public

opinion by sullying [NOPD] from top to bottom.”20 In comments responsive to certain online

articles, Perricone referred to NOPD as corrupt, ineffectual, and totally dysfunctional.21

        As the trial approached, Perricone’s online comments addressed the above-captioned

matter more directly. On October 24, 2010, he commented on an article about Scheuermann’s

“history of abuse allegations,” stating: “Mr. Scheuermann[’s] behavior was admired by the

NOPD and therefore tolerated. . . . If the Justice Department is serious, it will take whatever

steps they have to rectify this problem – Now!!!”22 On November 7, 2010, the day before jury

selection, he posted a comment referring to NOPD officers as “a group of frustrated, numbed

insensitive mutants with guns and badges.”23



17 Perricone was not a part of the government’s trial team in this case, “nor an actual supervisor

of the team.” R. Doc. No. 969, at 10 n.5. Cf. United States v. Coast of Me. Lobster Co., 538 F.2d
899, 902 (1st Cir. 1975) (confining its ruling).
18 R. Doc. No. 927-1, at 8.
19 R. Doc. No. 927-1, at 14-15.
20 R. Doc. No. 927-1, at 8.
21 R. Doc. No. 927-1, at 8 & n.9.
22 R. Doc. No. 927-1, at 9.
23 R. Doc. No. 927-1, at 9 & n.14.

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       On November 19, 2010, as trial was ongoing, Perricone posted an especially direct

comment on the case:

       Let me see if I understand this: The cops, through[] their attorneys, admitted that
       they shot Glover and then burned the body in a car that belonged to another man,
       who was not arrested for anything…RIGHT???
       GUILTY!!
       Now, let’s get on to Danzi[g]er.24

       On November 23, 2013, Perricone posted a comment criticizing AUSA Michael

Magner’s (“Magner”) cross-examination of Warren.25 Perricone asserted that the jury would “see

through” what he perceived as “theatrical exhibits” and “punish this silliness.”26

       Around November 26, 2010, Magner began to suspect that a current or former AUSA

was responsible for some of the online comments.27 Several days after the jury entered its verdict

against McRae,28 another AUSA suggested to Magner that the commenter might be Perricone.29

       McRae also alleges that newspaper articles indicate that grand jury leaks by the

government relative to the above-captioned matter began in June 200930 and continued up until

the indictment was filed and unsealed on June 10, 2010.31

       McRae argues that Perricone’s comments “violated multiple rules and regulations

designed to protect the right to a fair trial,”32 but the question before the Court is solely whether

such comments, in conjunction with the other evidence addressed herein, entitle McRae to a new



24 R. Doc. No. 927-1, at 6.
25 R. Doc. No. 927-13, at 10.
26 R. Doc. No. 927-13, at 10.
27 R. Doc. No. 1026-3, at 3.
28 R. Doc. No. 427.
29 R. Doc. No. 1026-3, at 3.
30 See R. Doc. No. 927-1, at 15 & nn.32-33.
31 R. Doc. No. 927, at 16; R. Doc. No. 1; R. Doc. No. 6.
32 R. Doc. No. 927-1, at 7.

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trial pursuant to Rule 33. The Court concludes that the evidence relative to online posts, grand

jury leaks, and a government cover-up fails to meet the fourth and fifth prongs of the Rule 33

analysis.33

         “Rule 33 caselaw cannot be understood except through the lens of avoiding the injustice

of a compromised verdict,” rather than “punish[ing] contemptuous prosecutors.” United States v.

Poole, 735 F.3d 269, 279 (5th Cir. 2013). “A new trial is a remedy inapposite to the harm where

the putative ‘wrong’ has no effect on our confidence in the verdict or the fairness of the trial.” Id.

at 279 n.24. “Even in cases of egregious prosecutorial misconduct,” the Supreme Court has

“required a new trial only when the tainted evidence was material to the case.” Smith v. Phillips,

455 U.S. 209, 220 n.10 (1982); see also United States v. Snoddy, 862 F.2d 1154, 1156 (5th Cir.

1989).

         With respect to materiality, the Fifth Circuit has suggested that the relevant inquiry is

whether “a jury could properly consider [the evidence] in determining guilt or innocence in a

new trial.” United States v. Piazza, 647 F.3d 559, 569 (5th Cir. 2011). Pursuant to Rule 33’s

prejudice requirement, the relevant question is whether the evidence “would probably produce a

different verdict in the event of re-trial.” Snoddy, 862 F.2d at 1156 (quoting United States v.

Kahn, 472 F.2d 272, 287 (2d Cir.1973)).

         The evidence relative to online commenting, grand jury leaks, and a government cover-

up does not fit neatly into this framework because such matters are patently immaterial to the

presentation of admissible evidence and the jury’s consideration thereof. Accordingly, the Court

easily finds that this evidence would not probably result in a different verdict. Newly discovered


33 In light of the Court’s holding relative to materiality and prejudice, the Court need not
determine whether such evidence meets Rule 33’s other requirements.
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evidence, however, “need not relate only to the question of innocence but may be probative of

another issue of law.” See United States v. Beasley, 582 F.2d 337, 339 (5th Cir. 1978) (adopting

opinion of Rubin, J.).

       Newly discovered evidence relative to the “fairness or impartiality of a jury[] may be

grounds for a new trial.” United States v. Campa, 459 F.3d 1121, 1151 (11th Cir. 2006) (en

banc) (citing United States v. Williams, 613 F.2d 573, 575 (5th Cir. 1980), and Beasley, 582 F.2d

at 339). In such cases, courts inquire “‘whether reasonable grounds’” exist to “‘question the

fairness of the trial or the integrity of the verdict.’” Williams, 613 F.2d at 575 (quoting S. Pac.

Co. v. Francois, 411 F.2d 778, 780 (5th Cir. 1969)).

       McRae’s motion for a new trial essentially argues that newly discovered evidence of

online commenting and grand jury leaks supports the conclusion that the jury was not

impartial.34 However, the fact that jurors were potentially exposed to incrementally more media

coverage or online comments as a result of certain actions by the government35 does not give rise

to “reasonable grounds . . . to question the fairness of the trial or the integrity of the verdict.” Id.

The parties were well aware of the ongoing media exposure36 when they proceeded with the

lengthy questionnaire and voir dire process by which an impartial jury was empaneled.37 The

jury was expressly and repeatedly instructed to base its verdict solely on the admissible evidence



34 See also R. Doc. No. 1037.
35 Given that Perricone used pseudonyms, his online comments did not carry the government’s

imprimatur. Cf. Berger v. United States, 295 U.S. 78, 88 (1935); Henslee v. United States, 246
F.2d 190, 193 (5th Cir. 1957) (applying Berger, 295 U.S. at 88).
36 McRae has never suggested that he was unaware that the online news articles relative to his

trial included a function by which readers could post online comments.
37 There was no motion for a transfer of venue relative to McRae’s trial. With respect to co-

defendant Warren’s retrial, such motions were denied. E.g., United States v. Warren, No. 10-154,
2013 WL 1562767 (E.D. La. Apr. 12, 2013).
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and to avoid any exposure to media coverage of the case.38 “A jury is presumed to follow its

instructions,” Weeks v. Angelone, 528 U.S. 225, 234 (2000), and McRae has not come forth with

any evidence to suggest that the jury did otherwise. See also Poole, 735 F.3d at 276.39

       McRae contends that the alleged government misconduct “made the difficult task of

picking a jury in a highly publicized case harder,” but he has not shown that this additional

incremental difficulty impaired the fairness of the trial, that it undermined the integrity of the

jury’s verdict, or that the absence of the alleged misconduct would probably result in a different

verdict. Accordingly, the alleged government misconduct does not warrant relief pursuant to

Rule 33.

       The Court further finds that no evidentiary hearing is necessary with respect to this

evidence. McRae requests such a hearing to address “(a) who knew about the blogging and why

they remained silent and (b) who were the reporters’ sources for the Glover case-related

newspaper articles.”40 The Court need not decide at this juncture who knew what about whom at

the U.S. Attorney’s Office.41 The Court’s sole concern is for the fairness of McRae’s trial and the

integrity of the jury’s verdict. See Orena v. United States, 956 F. Supp. 1071, 1076, 1112

(E.D.N.Y. 1997) (denying a motion for a new trial that attempted “to transform a troubling cloud

of questionable ethics and judgment enveloping an F.B.I. Special Agent into a raging storm of

reasonable doubt”). The matters on which McRae seeks an evidentiary hearing do not bear on the



38 E.g., R. Doc. No. 564, at 925.
39 Two of the jurors on whom McRae focuses were alternates. See R. Doc. No. 927-1, at 254; see

also R. Doc. No. 563, at 233; R. Doc. No. 579, at 7-8.
40 R. Doc. No. 927-1, at 30-31.
41 To the extent that misconduct occurred, there are other remedies available that “allow the court

to focus on the culpable individual rather than granting a windfall to the unprejudiced
defendant.” Bank of Nova Scotia v. United States, 487 U.S. 250, 263 (1988).
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Court’s determination of materiality and prejudice. Accordingly, the request for an evidentiary

hearing relative to online commenting and alleged grand jury leaks is DENIED.


II.    McRae’s Mental Condition

       McRae saw Dr. William B. Janzen, a psychologist, weekly “from September 2010 through

November 2010 and resumed sessions post trial verdict in mid-December 2010.”42 McRae

contends that Dr. Janzen’s records, including a September 2010 report and a February 2011

report, constitute newly discovered evidence that merits a new trial.43

       The September 2010 report reflected that McRae suffered from “a high level of anxiety

and moderate but chronic depression,” as well as “considerable emotional distress which he is

having a difficult time coping with.”44 The February 2011 report indicated that McRae “is clearly

evidencing symptoms of a posttraumatic stress disorder as a result of his experiences during and

after Katrina” and that “he is coping with depression and anxiety regarding his recent

conviction.”45 McRae describes his trial counsel’s “failure to seek access to Dr. Janzen’s report

and session notes” as “inexplicable.”46

       McRae argues that his state of mind “could not be properly determined” by the jury

“without Dr. Janzen’s report.”47 McRae contends, “Nothing in McRae’s background would



42 R. Doc. No. 927-30, at 2; R. Doc. No. 927-32, at 1.
43 R. Doc. No. 927-1, at 2, 30-31.
44R. Doc. No. 927-32, at 43; see also R. Doc. No. 927-32, at 41 (noting “considerable anguish”).
45 R. Doc. No. 927-32, at 1.
46 R. Doc. No. 927-1, at 4. Insofar as McRae’s motion could be read to include an ineffective

assistance of counsel claim, his motion for a new trial is an “improper vehicle” for such a claim.
See United States v. Medina, 118 F.3d 371, 372 (5th Cir. 1997); United States v. Ugalde, 861
F.2d 802, 809-10 (5th Cir. 1988).
47 R. Doc. No. 927-1, at 3. In making this argument, McRae attempts to shoehorn in various

other arguments relative to severance. See, e.g., R. Doc. No. 927-1, at 26; see also McRae, 702
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explain his conduct on September 2, 2014 when he burned Glover’s body. But Dr. Janzen’s

psychological report and session notes [] go a long way to provide a credible and highly relevant

insight into McRae’s irrational, but non-criminal conduct: McRae was likely at the time suffering

from Post-Traumatic Stress Disorder.”48

       The Court disagrees that these records are newly discovered evidence that could not have

been discovered through the exercise of due diligence. As highlighted by the government, McRae

concedes that his counsel knew that McRae “was undergoing psychological examination” but did

not obtain any related documents.49

       “Several cases suggest that diagnoses made available only after trial could in some

circumstances form a basis for a new trial, even where the symptoms were known or knowable

during trial.” United States v. Herrera, 481 F.3d 1266, 1271 (10th Cir. 2007). For example,

McRae relies on United States v. Massa, 804 F.2d 1020 (8th Cir. 1986), in which the court

concluded that a psychiatrist’s affidavit, which was prepared after trial, was newly discovered

evidence. See id. at 1022 (“Although the factual details underlying Holeman’s affidavit were

known to Massa prior to trial, he did not know that an expert would opine that those details of his

life had so affected his mental state as to render him incapable of committing the crimes with

which he was charged.”). Such cases are distinguishable because information relative to McRae’s

mental condition, including his diagnosis, was available before and during trial.50 Indeed, as



F.3d at 824-25 (“Warren contends that he suffered specific and compelling prejudice from the
ton of horrible evidence the government used to convict McRae, and that little of it was relevant
to the indictment against him.”). Such arguments are not premised on newly discovered
evidence.
48 R. Doc. No. 927-1, at 28.
49 R. Doc. No. 969, at 17.
50 See, e.g., R. Doc. No. 927-32, at 38 (noting, in document dated September 23, 2010, that

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discussed below, trial counsel overtly employed a defense premised on McRae’s mental

condition. Accordingly, even if some of the information in Dr. Jansen’s notes is newly

discovered, the Court concludes that this evidence could have been discovered through the

exercise of due diligence.51 See Herrera, 481 F.3d at 1271; Wall, 389 F.3d at 469.

       Moreover, the Court concludes that the evidence would not probably produce an acquittal

because the jury’s rejection of McRae’s mens rea defense was amply supported by the evidence

presented at trial and the jury’s credibility determinations.

       McRae’s trial counsel deliberately elicited testimony showing that McRae’s “psyche” had

gone through a “gradual deterioration” by the time he burned the body.52 McRae acknowledges

that he testified, “quite emotionally,” as to the conditions he experienced during and after

Katrina.53 McRae testified that he burned Glover’s body so that it would not rot, taking into

account that he had broken down because of, among other things, the sheer number of corpses he

encountered after Hurricane Katrina.54

       Scheuermann also testified that it was “obvious” that McRae had “serious issues with the

storm,” and that McRae “looked exhausted” and “like he was just having problems.”55 Similarly,

Scheuermann testified that, when he asked McRae, “[W]hat the F are you doing?” McRae

responded by “going on about the bodies and things like that and, you know, the decaying and




McRae “appears to be traumatized. Has delayed PTSD”).
51 See also R. Doc. No. 927-30 (suggesting that Dr. Janzen’s records were available from the

U.S. Pretrial Services Office, which may have required that McRae first obtain a court order
authorizing their release, and from Dr. Janzen’s office, which did not require such an order).
52 R. Doc. No. 571, at 238-39, 249-57.
53 R. Doc. No. 927-1, at 28.
54 E.g., R. Doc. No. 571, at 253-56.
55 R. Doc. No. 572, at 195.

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things like that . . . . that was roughly what he was saying.”56 Scheuermann also testified that

McRae “was under a lot of stress at the time. Obviously, he was under a lot of stress and had

some problems or he wouldn’t have done this.”57

       Dr. Cristobal Mandry testified that he was concerned about McRae, that McRae “had sort

of deteriorated to that point,” and that “he was just – he was beat.”58

       McRae’s mental state was the focus of both the government’s and defense counsel’s

closing arguments, which serve as useful summaries of the evidence presented to the jury at trial.

        During its closing argument, the government argued forcefully that the evidence did not

support the conclusion that McRae burned the body as “a mistake” or “because he had some

concern about rotting bodies.”59 The government urged, “[T]his rotting bodies nonsense is just

make-believe cover to hide the truth. McRae and Scheuermann were getting rid of evidence of a

police shooting.”60 The government emphasized that, while there were many dead bodies

witnessed by police officers after the storm, “Only one body, Henry Glover, was burned.”61 The

government reminded the jury that a photographer who was present at Habans School testified

that, when he later asked McRae about what happened with the Malibu and Glover’s body,




56 R. Doc. No. 572, at 192.
57 R. Doc. No. 572, at 223; see also R. Doc. No. 572, at 211, 240, 246, 249.
58 R. Doc. No. 566, at 100. Dr. Mandry is a physician, board-certified in emergency medicine,

who had known McRae for approximately 10 years because of Dr. Mandry’s role as an NOPD
reserve officer. R. Doc. No. 566, at 62, 66. Dr. Mandry “bunked” at Habans School during the
relevant time period. R. Doc. No. 566, at 68-69.
59 R. Doc. No. 576, at 61.
60 R. Doc. No. 576, at 62.
61 R. Doc. No. 576, at 65.

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McRae “looked at me and said, NAT, and made a motion with his hand” near his neck.62 The

photographer explained that “NAT” is “cop shorthand for necessary action taken.”63

       Defense counsel emphasized in closing argument:

                Now, we know what Greg’s state of mind became, we know it because Dr.
       Mandry testified as to how he broke down. We know that he had to admit that he
       broke down at nights when he was working by himself a lot, when he didn’t want
       to do it in front of the younger men. And he told you it wasn’t the only time.

               Greg McRae, a big man, a veteran of the New Orleans Police Department,
       crumbled on September 2nd. He absolutely crumbled. And it was that crumbled
       man that made the decisions that he made. But you saw him in court five years
       later and you now know that all of the king’s horses and all of the king’s men will
       never put him back together again. Never.64


Similarly, in his prior motion for acquittal and, alternatively, a new trial, which the Court

denied,65 McRae argued that he burned the vehicle “for no particular reason and as a result of the

extreme stress and mental anguish resulting from the Post-Hurricane Katrina conditions under

which he was working.”66

        “In determining whether to grant [a motion for a new trial], the district court must

carefully weigh the evidence and may assess the credibility of the witnesses during its

consideration of the motion for new trial, but must not entirely usurp the jury’s function, or

simply set aside a jury’s verdict because it runs counter to the result the district court believed

was more appropriate.” United States v. Tarango, 396 F.3d 666, 672 (5th Cir. 2005) (internal

quotations and citations omitted). “Setting aside a jury’s guilty verdict in the interests of justice



62 R. Doc. No. 576, at 61; see also R. Doc. No. 566, at 120, 128.
63 R. Doc. No. 576, at 61; see also R. Doc. No. 566, at 128.
64 R. Doc. No. 576, at 153.
65 R. Doc. No. 476.
66 R. Doc. No. 463, at 6.

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may be appropriate under circumstances where the evidence brought forth at trial may

tangentially support a guilty verdict, but in actuality, preponderates sufficiently heavily against

the verdict such that a miscarriage of justice may have occurred.” Id. at 672 (quotation omitted).

“Although a district court has broad discretion, it is not limitless, and it ‘may not reweigh the

evidence and set aside the verdict simply because it feels some other result would be more

reasonable.’” United States v. Arnold, 416 F.3d 349, 360 (5th Cir. 2005) (quoting United States

v. Robertson, 110 F.3d 1113, 1117 (5th Cir. 1997)).

       McRae has not shown that the jury probably would have acquitted him if presented with

the evidence discussed above. See United States v. Runyan, 290 F.3d 223, 247-48 (5th Cir. 2002)

(concluding that “post-trial expert analysis ‘only verified’” information of which the jury was

“fully aware”). In short, while Dr. Jansen’s testimony or notes may have bolstered McRae’s

testimony, the ultimate credibility call with respect to specific intent was made by the jury on the

basis of extensive evidence, including voluminous testimony from McRae himself.67 See United

States v. Bright, 517 F.2d 584, 586 (2d Cir. 1975); see also Smith v. United States, No. 91-3882,

1993 WL 206559, at *2 (7th Cir. June 14, 1993). No evidentiary hearing is required with respect

to this evidence. See Runyan, 290 F.3d at 248.

                                        CONCLUSION

       McRae has not demonstrated that Dr. Janzen’s records are newly discovered evidence

that could not have been previously detected through the exercise of due diligence. In addition,

the evidence relative to online commenting, grand jury leaks, and a government cover-up is

immaterial to the jury’s verdict. Finally, the evidence set forth by McRae, when taken as a



67 See R. Doc. No. 427-5, at 40 (defining “willfulness”).

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whole, fails to satisfy the prejudice requirement of Rule 33. McRae has not shown that the

evidence described above gives rise to reasonable grounds to question the fairness of the trial or

the integrity of the jury, nor has he shown that such evidence would probably result in an

acquittal. The interest of justice does not require a new trial. Accordingly,

       IT IS ORDERED that McRae’s motion for a new trial and amended motion for a new

trial are DENIED.



       New Orleans, Louisiana, June 2, 2014.



                                                        ___________________________________
                                                                 LANCE M. AFRICK
                                                         UNITED STATES DISTRICT JUDGE




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